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Case 2:20-cv-00263-RSM-JRC Document 30 Filed 05/21/20 Page 1of4

UNITED STATES DISTRICI COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

ROBERT RUSSELL, Individually

Plaintiff,
Vv.
JOSEPH SAMEC, INDIVIDUALLY: SEAN

BISHOP, INDIVIDUALLY: AND DOES 1-10

Defendants

 

 

Case No.: 2:20-cv-00263
Hon. Ricardo §. Martinez, Judge.
DEFENDANT, JOSEPH SAMEC’S

OPPOSITION TO PLAINTIFF’S MOTIONTO
SEAL

CALENDARED DATE: 5/29/2020

TO ALL INTERESTED PARTIES

By and through this document, Defendant, Joseph Samec (Mr. Samec)

respectively opposes Plaintiff's (Robert Russell’s) motion to seal certain document exhibits in

the case currently before this court.

Hf

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IDEFENDANT, JOSEPH SAMEC’S
OPPOSITION TO PLAINTIFF'S
PLAINTIFF’S MOTION TO SEAL

JOSEPH SAMEC, PRO PER
838 NORTH CHARTER DR.
COVINA, CA 91724

626-482-6173

CASE NO. 2:20-CV-00263 1

 
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I. BACKGROUND

Plaintiff, Robert Russell, has filed the instant suit against Joseph Samec, alleging
Defamation, Outrage, Tortious Interference, False Light, and requesting Injunctive Relief. In
support of the allegations, Plaintiff has included as Exhibits several social media postings he
wrongly attributes to Defendant Samec. With the present motion, Plaintiff has requested this
court to seal these several social media postings he claims should not be seen by members of the
public.

I. ARGUMENT
Plaintiff has not shown good cause to seal the exhibits.

Plaintiff has submitted two cases upon which he relies in support of his motion to seal.
Neither is persuasive.

On Page 4 of his Motion to Seal, Plaintiff cites Milkovich v. Lorain Journal Co. 497 US.
1, 22 (1990). While this case addresses the issue of defamation, and whether a second opinion
privilege exists against libel, the Supreme Court’s determination is absolutely silent on the
sealing of documents. Nowhere in the holding of the court does the words “seal,” “sealed,” or
“sealing” appear. It is therefore submitted that Milkovich v. Lorain Journal Co, 497 U.S. 1,
(1990) is not relevant to the motion before this court.

Plaintiff has also included Kanakana v. City and County of Honolulu 447 F3d. 1172 (9th
Cir. 2006) wherein the appellate court upheld the unsealing of official records related to an
investigation of possible police corruption. In support of their holding the court noted: “**** the
private interests of the litigants are not the only weights on the scale. Unlike private materials

unearthed during discovery, judicial records are public documents almost by definition, and the

2DEFENDANT, JOSEPH SAMEC’S JOSEPH SAMEC, PRO PERI
OPPOSITION TO PLAINTIFF’S 838 NORTH CHARTER DR.
PLAINTIFF’S MOTION TO SEAL COVINA, CA 91724

626-482-6173

CASE NO. 2:20-CV-00263 2

 
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public is entitled to access by default.” Id at 1180 citing Nixon v. Warner Comme’ns, Inc. 485
U.S. 589, 597 (1978).

In their holding the appellate court relies heavily on Folz v. State Farm Mut. Auto Ins. Co.
33 F 3d 1122 (gt Cir. 2003). In Folz, the appellate court upheld the unsealing of documents
previously filed under seal. In so doing the court stated: “The supreme court recognized the
federal common law right ‘to inspect and copy public records and documents filed in civil cases,
Id at 12134 (citing Nixon v. Warner Communications 435 U.S. 598, 597). In further support to
their holding, the Folz court at 1136 noted: [a] litigant who might be embarrassed, incriminated,
or exposed to litigation through dissemination of materials is not, without more, entitled to the
court’s protection.” In the present case, Plaintiff Russell has cited nothing more than alleged
embarrassment as cause for sealing the exhibits he has included with his complaint. It is

submitted none of the courts cited supra would find good cause in plaintiffs’ motion.

lil. CONCLUSION
Plaintiff has failed to establish good cause why the exhibits he has chosen to include in
support of his complaint should be sealed. The complaint as well as the documents are public

record and this court should deny Plaintiffs motion.

Respectfully Submitted on this. 21st . day of ._ May ., 2020

 

3DEFENDANT, JOSEPH SAMEC’S JOSEPH SAMEC, PRO PER

OPPOSITION TO PLAINTIFF’S 838 NORTH CHARTER DR.

PLAINTIFF’S MOTION TO SEAL COVINA, CA 91724 .
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WAWD - Certificate of Service (Revised 12/27/12)

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

Robert Russell an individual

 

 

 

Plaintiff(s),
V 2:20-cv-00263
‘ Case No.
Joseph Samec, an individual
§ Bishop, an individual, and
°° CERTIFICATE OF SERVICE
Defendant(s).
| hereby certify thaton May 21,2020 | electronically filed the foregoing

 

with the Clerk of the Court using the CM/ECF system which will send notification of such
filing to the following:

bthoreson@buchalter.com, mbrandt@buchalter.com, tsempel@buchalter.com,
ocket@buchalter.com, kfitzgerald@buchalter.com

and | hereby certify that | have mailed by United States Postal Service the document to the
following non CM/ECF participants:

Sean Bishop

 

Dated May 21,2020

 

 

 

Joseph Samec In Pro Per
838 N. Charter Dr.

Covina Ca 91724
626-482-6173
josephsamecS@gmail.com

 

Name, Address and Phone Number of Counsel or Pro Se

CERTIFICATE OF SERVICE Page of

 
